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                            EXHIBIT 42




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                                                            SFUND RECORDS CTR
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                 UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                      REGION IX

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                                                                     88103156


                                    December 19, 1991



Bill Duchie
Shell Oil Co.
511 Brookhurst St.
P.O. Box 4848
Aneheim, CA 92803
 Dear Mr. Dadhie: Is7 \\
      As you are aware, EPA has been examining ways in which the
 Agency could expedite the remedy selection process for the McColl
 Superfund Site. The National Contingency Plan (NCP) defines a
 two-stage process (screening and nine-criteria analysis) by which
 the Agency evaluates alternatives for consideration as the
 preferred remedy. The screening stage was devised to remove non-
 viable alternatives from further consideration. The nine
 criteria stage was devised to allow the Agency to select the
 preferred alternative from those identified as viable in the
 screening stage. When appropriate, screening helps streamline
 the detailed analysis and can expedite the remedy selection
 process by reducing the resources being directed at that
 alternative.
 BACKGROUND
      The February 1989 Proposed Plan identified thermal
 destruction as the preferred alternative. EPA has subsequently
 collected substantial information on that alternative. The 1990
 trial excavation gave EPA an improved picture of what would be
 required for total site excavation. Further analysis of the
 thermal destruction remedy has enabled EPA to determine that
 rotary kiln incineration is the most appropriate thermal
 destruction technology, and has allowed EPA to choose on-site as
 the appropriate location for the treatment. During this
 additional analysis, EPA has also identified significant concerns
 about the thermal destruction alternative:
       •   Visual Impacts
       •   Noise Impacts
       •   Community Acceptance
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      •   Emission limitations and offsets
      •   Health and Safety Issues
      •   Increased Cost Estimates
      •   Timeframe for Remediation
     In light of the new information, including these concerns,
EPA decided to perform a screening analysis on the thermal
destruction alternative. EPA's screening analysis for thermal
destruction is summarized below.
THE REQUIREMENTS OF THE NATIONAL CONTINGENCY PLAN
     The screening process defined in the NCP [section
300.430(e)(7)] allows the Agency to consider three criteria in
deciding whether to screen alternatives from further
consideration.
      • Effectiveness: This criterion considers the degree
      to which an alternative reduces toxicity, mobility, or
      volume through treatment, minimizes residual risk and
      affords long-term protection, complies with ARARs,
      minimizes short-term impacts, and the amount of time
      needed to achieve protection.
       • Implementability: This criterion considers both
       technical and administrative feasibility.
       • Cost: This criterion considers both the short and
       long-terra costs associated with the implementation of
       an alternative. The NCP contains two methods by which
       an alternative can be screened using cost. First, if
       there is another alternative employing a similar method
       of treatment or engineering controls with similar
       effectiveness and implementability at a lower cost,
       then the alternative with a higher cost may be
       eliminated. Second, if the costs of the alternative
       are grossly excessive to the effectiveness of the
       alternative, then the alternative may be eliminated.
 OUTCOME OF THE SCREENING ANALYSIS
      EPA has applied these criteria to information in the
 administrative record for the on-site thermal destruction
 alternative and has reached the following conclusions:
 Effectiveness:
      EPA believes that on-site incineration would be an effective
 alternative. This belief is based on the following major
 factors: 1) All the contaminated soil and waste material would
 be destroyed and air emissions would be treated; 2) While short-
 term impacts are expected from the excavation and incineration
 activities, these impacts can be minimized; and 3) this
 alternative can likely be designed to comply with all ARARs.



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Implementabilitv;
     EPA believes that on-site incineration would be
implementable but technically and administratively difficult.
This belief is based on the following major factors: 1) The
technology exists to both excavate and incinerate the McColl
waste; 2) the technology is proven and available; and 3) the
alternative could likely be constructed to meet SCAQMD and OSHA
requirements.
     However, we now recognize that the level of confidence in
undertaking incineration today is less than it was in 1989 when
the proposed plan was issued. This decrease in confidence is due
to the following issues: 1) visual impact concerns, 2) noise
impact concerns, 3) emissions inside and outside the enclosure,
4) OSHA concerns for worker safety, 5) SCAQMD concerns about air
quality, and 6) length of implementation.
Cost;
     While the estimated costs for incineration have increased
since 1989, EPA believes that the current estimated cost for
incineration is not grossly excessive to it's overall
effectiveness.
     The February 1989 proposed plan used a figure of $117
million as the cost for thermal destruction assuming that there
would be 97,100 cubic yards of waste incinerated on-site, and the
ash from the incinerator would be non-hazardous so it could be
disposed of on-site. The February 1989 SROA report underlying
the proposed plan presented a range of approximately $117 million
to $399 million for thermal destruction based on varying
assumptions. The assumptions for the high-end cost assumed that
265,800 cubic yards of waste would be incinerated on-site and the
residual ash would need to be disposed of off-site. The proposed
plan indicated EPA would be willing to implement the range of
options.
     The new information estimates the cost for on-site
incineration to range from approximately $212 million to $399
million. These figures assume that 97,100 cubic yards of waste
will be treated on-site, using a rotary kiln incinerator, and the
ash will be disposed of on-site as non-hazardous waste. The
range represents different excavation and incineration timeframes
(from 2.5 years to 6.4 years). The 1989 figures were all based
on excavation and incineration timeframes of approximately 1.4 to
4.0 years. In summary, even though cost ranges have increased,
the Agency does not believe that the differences between the
proposed plan and EPA's new feasibility studies dictate screening
out of the alternative at this time. However, EPA will seriously
reexamine the final cost estimates when EPA selects its preferred
remedial alternative.




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CONCLUSIONS
     Based on the review of the screening criteria and all new
information to date, EPA has decided not to eliminate the
thermal destruction alternative at the screening stage.
The agency has determined that it will continue to carry on-site
incineration into the nine criteria stage of analysis.
     The Agency is committed to a thorough and legally defensible
remedy selection process based on an adequate administrative
record.   EPA will account for the above concerns in the nine-
criteria analysis to compare the incineration alternative to the
other available alternatives as we seek to determine the
preferred remedy for the McColl site.
     If you have any questions feel free to contact myself, or
Pam Wieman or Steve Linder of my staff at (415) 744-2241, (415)
744-2242, or (415) 744-2243 respectively.
                                              Sincerely,



                                               3hn Blevins, Chief
                                              Southern California Section
cc:   IAC Members
      L. Goldshmidt, Sierra Club
      D. Bushey, Fullerton Hills Community Association
      K. Ritter, Fullerton Hills Community Association




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